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6    JENNIFER L. COLEMAN
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             Case No. 1:13-cr-00109 LJO-SKO
                                           )
12                     Plaintiff,          )
                                           )             STIPULATION TO CONTINUE
13         v.                              )             STATUS CONFERENCE;
                                           )             [PROPOSED] ORDER THEREON
14   SERGIO PATRICK RODRIGUEZ, et al.      )
                                           )             Date: April 29, 2013
15                     Defendant.          )             Time: 1:00 p.m.
     _____________________________________ )             Dept : Hon. Sheila K. Oberto
16
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
19   attorneys of record herein, that the status conference hearing in the above-referenced action now scheduled
20   for April 1, 2013, may be continued to April 29, 2013 at 1:00 p.m.
21          The parties have just received discovery and need additional time to review it with clients. The
22   requested continuance will conserve time and resources for all parties and the Court.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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1             The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein for further plea
3    negotiation and defense preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B).
4
5                                                           BENJAMIN B. WAGNER
                                                            United States Attorney
6
7    DATED: March 28, 2013                           By:    /s/ Karen Escobar
                                                            KAREN A. ESCOBAR
8                                                           Assistant United States Attorney
                                                            Attorney for Plaintiff
9
10                                                          JOSEPH SCHLESINGER
                                                            Acting Federal Defender
11
12   DATED: March 28, 2013                           By:    /s/ Janet Bateman
                                                            JANET BATEMAN
13                                                          Assistant Federal Defender
                                                            Attorney for Defendant
14                                                          JENNIFER COLEMAN
15
                                                            LAW OFFICE OF DALE BLICKENSTAFF
16
17   DATED: March 28, 2013                           By:    /s/ Dale Blickenstaff
                                                            DALE BLICKENSTAFF
18                                                          Attorney for Defendant
                                                            SERGIO P. RODRIGUEZ
19
20
21                                                     ORDER
22            The parties' request for a continuance is granted. Time is excluded in the interests of justice
23   pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B).
24
25
26   IT IS SO ORDERED.
27   Dated:       March 28, 2013                           /s/ Sheila K. Oberto
     ie14hj                                        UNITED STATES MAGISTRATE JUDGE
28

     Rodriguez, et al. — Stipulation to Continue
     Status Conference and Order Thereon                    2
